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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff                                   CRIMINAL 15-0708-02CCC
 vs
 2) CRISTOBAL RIVERA-ROMAN
 Defendant


                                     ORDER

      Having considered the Report and Recommendation filed on May 27,
2016 (d.e. 41) on a Rule 11 proceeding of defendant [2] Cristóbal
Rivera-Román before U.S. Magistrate-Judge Silvia Carreño-Coll on May 24,
2016, to which no objection has been filed, the same is APPROVED.
Accordingly, the plea of guilty of defendant is accepted. The Court FINDS that
his plea was voluntary and intelligently entered with awareness of his rights
and the consequences of pleading guilty and contains all elements of the
offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since May 24, 2016.            The sentencing
hearing is set for August 31, 2016 at 4:30 PM.
      The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
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objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
     SO ORDERED.
     At San Juan, Puerto Rico, on June 16, 2016.



                                   S/CARMEN CONSUELO CEREZO
                                   United States District Judge
